        Case 4:17-cr-00293-BSM Document 2335 Filed 01/24/22 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.                            CASE NO. 4:17-cr-00293-BSM

MARCUS O. MILLSAP, ET AL                                                            DEFENDANTS


           DEFENDANT’S FIFTH MOTION FOR EXTENSION OF TIME
       TO FILE OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT


       COMES NOW the Defendant, Marcus O. Millsap, by and through the undersigned counsel

and for his Fifth Motion for an Extension of Time to File Objections to the Presentence

Investigation Report states:

       1.      Counsel for the Defendant received the first draft of the Presentence Investigation

Report (PSR) in this case on November 22, 2021. The Court previously entered an Order extending

the time for Defendant to file his objections to the PSR to January 24, 2022.

       2.      The undersigned counsel requests additional time to meet with the Defendant, to

determine if there are any valid objections to the PSR, and to submit them to the USPO and USAO.

       3.      Defendant’s Counsel requests an extension of time to submit objections to the PSR

until February 7, 2022.

       4.      This motion is not submitted for any improper purpose or to cause unneeded delay.

       WHEREFORE, the Defendant asks that this Court allow counsel until February 7, 2022,

to submit objections to the PSR and for all other just and proper relief to which he may be entitled.
Case 4:17-cr-00293-BSM Document 2335 Filed 01/24/22 Page 2 of 2




DATED: January 24, 2022.

                                   RESPECTFULLY SUBMITTED,

                                   GIBSON & KEITH, PLLC
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